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 8                       UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
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     Frankel, et al.,                      Case No. 2:24-cv-04702-MCS-PD
12                                         ORDER APPROVING PARTIES’
                        Plaintiffs,        STIPULATION EXTENDING
13
            v.                             DEFENDANTS’ TIME TO RESPOND
14                                         TO PLAINTIFFS’ COMPLAINT (ECF
     Regents of the University of          NO. 87)
15   California, et al.,
16                      Defendants.        Judge:     Hon. Mark C. Scarsi
                                           Courtroom: 7C
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                                                       ORDER APPROVING PARTIES’ STIP.
                                                         CASE NO. 2:24-CV-04702-MCS-PD
Case 2:24-cv-04702-MCS-PD     Document 90 Filed 08/13/24      Page 2 of 2 Page ID
                                   #:1363


 1                                        ORDER
 2         This Court, having reviewed the Stipulation Extending Defendants’ Time to
 3   Respond to Plaintiffs’ Complaint of Plaintiffs Yitzchok Frankel, Joshua Ghayoum,
 4   and Eden Shemuelian and Defendants The Regents of the University of California,
 5   Michael V. Drake, Gene D. Block, Darnell Hunt, Michael Beck, Monroe Gorden,
 6   Jr., and Rick Braziel, finds good cause to extend the time as stipulated.
 7         The request to extend Defendants’ time to respond to Plaintiffs’ Complaint
 8   from August 19, 2024 to September 4, 2024 is GRANTED.
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      DATED: August 13, 2024                      __________________________
12                                                Mark C. Scarsi
13                                                United States District Judge
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                                                           ORDER APPROVING PARTIES’ STIP.
                                              2              CASE NO. 2:24-CV-04702-MCS-PD
